Case 3:20-cr-00228-RDM Document16 Filed 10/16/20 Page 1 of 5

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,
V. : 3:20-CR-228
: (JUDGE MARIANI)
KURT MORAN,
Defendant.
ORDER

AND NOW, THIS __/ Gh DAY OF OCTOBER, 2020, upon consideration of the
Government's “Joint Motion to Continue Trial” (Doc. 14), and the Defendant’s concurrence
therein, IT IS HEREBY ORDERED THAT:

1. The Joint Motion to Continue Trial (Doc. 14) is GRANTED.

2. Jury selection and trial scheduled to begin on October 19, 2020, are
RESCHEDULED and shall now commence on Monday, November 30, 2020 at
9:30 a.m. in the William J. Nealon Federal Building, Scranton, Pa., in a courtroom
to be designated by the Clerk of Court. Counsel can obtain information on
courtroom assignments by contacting the Clerk’s office the Friday before the
scheduled appearance.

3. The final Pretrial Conference in this matter will be held on Tuesday, November
24, 2020, at 2:30 p.m. in the William J. Nealon Federal Building, Scranton, Pa., in
a courtroom to be designated by the Clerk of Court. Counsel for both the

Government and Defendant shall attend the conference in person. The purpose of
Case 3:20-cr-00228-RDM Document16 Filed 10/16/20 Page 2 of 5

the pretrial conference is to address issues pertaining to jury selection, evidentiary
and substantive issues reasonably likely to arise during the course of trial,
scheduling of witnesses, and other matters relating to the conduct of the trial. A
Court Reporter shall be present for the pretrial conference.

4. The following procedure shall be followed with respect to motions in limine:

a. Motions in limine with supporting briefs shall be filed no later than 28 days
prior to trial. No party, without leave of Court for good cause shown, shall
file more than five (5) motions in limine, including subparts. If a party
chooses to file one or more motions in limine, each motion shall be
narrowly tailored, address a single evidentiary issue, and be filed
separately. No omnibus motions will be considered by the Court.

b. All briefs in opposition/response to the movant’s motion(s) in limine shall be
filed no later than 12 days following service of the moving party’s motion(s)
and supporting brief(s).

c. Any Reply briefs shall be filed no later than 5 days following service of the
non-moving party's brief(s).

5. Counsel for the Government and the Defendants shail electronically file the
following materials via CM/ECF no later than three (3) days prior to the final Pretrial
Conference:

a. Trial briefs;
Case 3:20-cr-00228-RDM Document16 Filed 10/16/20 Page 3 of 5

b. Proposed voir dire questions;

c. A proposed verdict form; and

d. Proposed points for charge.

6. Before filing the proposed verdict form and proposed points for charge required by
the preceding paragraph, the parties shall follow the following procedure:

a. No later than fourteen (14) days before trial, counsel shall meet and
prepare a joint statement of the law that they agree is applicable to the
matters at trial, in the form of instructions to the jury. Counsel shall likewise
prepare a proposed verdict form that incorporates their proposed jury
instructions in a manner that facilitates the jury's determinations of all
relevant issues of fact consistent with the proposed instructions.

b. In all cases, parties shail follow the Model Criminal Jury Instructions for
District Courts of the Third Circuit. In cases where the Third Circuit has not
promulgated instructions, the parties may base their instructions upon the
most recent edition of (1) LEONARD SAND, JOHN SIFFERT, WALTER LOUGHLIN,
STEVEN REIss & NANCY BATTERMAN, MODERN FEDERAL JURY INSTRUCTIONS,
(2) KEVIN O'MALLEY, JAY GRENIG & WILLIAM LEE, FEDERAL JURY PRACTICE AND
INSTRUCTIONS, and/or (3) jury instructions for the Commonwealth of

Pennsylvania, in such areas where Pennsylvania law applies.
Case 3:20-cr-00228-RDM Document16 Filed 10/16/20 Page 4 of 5

c. Only when the publications listed above do not provide sufficient guidance
to the law at issue may the instructions of other Circuit Courts and/or
relevant case law be used.

. Unless otherwise ordered by the Court, the following trial schedule will be

maintained: Each morning session will commence at 9:30 a.m. and end at 12:30

p.m. Each afternoon session will commence at 1:30 p.m. and end at 5:00 p.m.

. Counsel desiring a side bar conference prior to the commencement of trial at 9:30

a.m. shall notify the Court before 9:00 a.m. Side bar conferences will be held

between 9:00 and 9:30 a.m. before the jury is brought into the courtroom.

. {fa plea agreement or plea has been agreed upon by counsel and a defendant

after 5:00 p.m. on the last business day or on the weekend preceding the

commencement of trial, counse] should notify the Courtroom Deputy, Judith

Malave, at judith_malave@pamd.uscourts.gov, and thereafter file a letter with the

Court on CM-ECF.

10. Any request to have the jury polled must be made before the Court enters

judgment and excuses the jury.

11. Because the Court finds that the ends of justice will be served by continuing trial

and that such a continuation outweighs the best interests of the public and the

Defendant in a speedy trial, any delay occasioned by the continuance of this trial
Case 3:20-cr-00228-RDM Document16 Filed 10/16/20 Page 5of5

shall be excluded from the speedy trial calculation pursuant to 18 U.S.C. §

‘ i WLM tt;

Robert D. Mariani
United States District Judge

3161(h)(7).
